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Connell Foley LLP
One Newark Center
1085 Raymond Boulevard, 19" Floor
Newark, New Jersey 07102
(973) 436-5800
Attorneys for Plaintiff, Travelodge Hotels, Inc.

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

TRAVELODGE HOTELS, INC, a Delaware Civil Action No. 19-cv-73 (SDW\LDW)

Corporation,

2 FINAL JUDGMENT BY DEFAULT
Plaintiff,

Vv.

GURUNANAKDEVII CORPORATION, a New
Mexico Corporation; HARPREET SINGH, an
individual; PARMJIT SINGH, an individual;
GURCHARAN KAUR, an individual; and
AMAN SHARMA, an individual,

Defendants,

This matter having been opened to the Court by plaintiff, Travelodge Hotels, Inc. (“THI”),
by its attorneys, Connell Foley LLP, seeking the entry of Final Judgment by Default against
defendants, Gurunanakdevji Corporation, Harpreet Singh, Parmjit Singh, Gurcharan Kaur, and
Aman Sharma (collectively, the “Defendants”), pursuant to Fed. R. Civ. P. 55(b)(2); and it
appearing that the Complaint in this matter was filed on January 3, 2019, seeking damages as a
result of the breach of a franchise agreement between THI and Gurunanakdevji Corporation; and
service of the Summons and Complaint having been effectuated with respect to defendant Aman
Sharma by personally serving him in Las Vegas on February 14, 2019; and service of the Summons
and Complaint having been effectuated with respect to defendants Gurunanakdevji Corporation,

Harpreet Singh, Parmjit Singh and Gurcharan Kaur by serving them via certified and regular mail
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in Grants, New Mexico on March 15, 2019; and it appearing that default was duly noted by the

Clerk of the Court against Defendants on July 23, 2019 for their failure to plead or otherwise defend

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ORDERED, ADJUDGED/ AND hE REED that THI have judgment against

Defendants, jointly and severally, in the total amount of $172,890.59, comprised of the following:
a. $77,517.28 for liquidated damages (principal plus prejudgment interest); and

b. $95,373.31 for Recurring Fees (principal plus prejudgment interest).

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SAN D. WIGENTON, U.S.D.J.
